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 1   KRISTINA L. HILLMAN, Bar No. 7752
     TIFFANY CRAIN ALTAMIRANO, Bar No. 14160
 2   SEAN W. McDONALD, Bar No. 12817
     LAW OFFICES OF KRISTINA L. HILLMAN
 3    Affiliated with Weinberg, Roger & Rosenfeld
      A Professional Corporation
 4   1594 Mono Avenue
     P.O. Box 1987
 5   Minden, Nevada 89423
     Telephone (775) 770-4832
 6   Fax (775) 782-6932
     E-Mail: khillman@unioncounsel.net
 7            taltamirano@unioncounsel.net
              smcdonald@unioncounsel.net
 8
     Attorneys for Plaintiffs
 9

10                                UNITED STATES DISTRICT COURT

11                                       DISTRICT OF NEVADA

12   THE BOARD OF TRUSTEES, in their                      Case No. 2:19-cv-01504-KJD-BNW
     capacities as Trustees of the NATIONAL
13   ROOFING INDUSTRY PENSION FUND,                       (proposed)
     NATIONAL ROOFERS RESEARCH AND                        ORDER FOR JUDGMENT
14   EDUCATION TRUST, NATIONAL                            DEBTOR EXAMINATION
     ROOFERS UNION & EMPLOYERS
15   HEALTH & WELFARE FUND,                               (Christopher L. Dean, Manager)
16                                 Plaintiffs,
17           v.
18   DEAN INDUSTRIES, LLC,
19                                 Defendant.
20

21          Having considered Judgment Creditor’s Motion for Judgment Debtor Examination and the
22   declaration of counsel and good cause appearing,
23          IT IS HEREBY ORDERED that Christopher L. Dean, Manager of Dean Industries, LLC,
24   Judgment Debtor, appear at 400 South Fourth Street, Suite 500, Las Vegas, NV 89101, on the
25   17th day of December, 2020, at 10:00 a.m., to be sworn in for a Judgment Debtor Examination
26   and answer concerning property subject to the ownership and control of Judgment Debtor.
27          IT IS FURTHER ORDERED that Dean Industries, LLC, no later than seven days prior to
28   the date of the examination set above, shall produce to the Law Offices of Kristina L. Hillman,
                                                      1
        ORDER FOR JUDGMENT DEBTOR EXAMINATION (CHRISTOPHER L. DEAN, MANAGER)
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 1   1594 Mono Avenue, P.O. Box 1987, Minden, NV 89423, or such other location as the parties

 2   may agree, documents responsive to the below categories that are under the ownership,

 3   possession, custody, or control of Judgment Debtor or its officers, managers, members, agents,

 4   attorneys, or accountants:

 5           1.      Evidence of financial statements prepared by or on behalf of Dean Industries,

 6   LLC, from January 1, 2016, to the present.

 7           2.      Evidence of monthly bank statements of from every account Dean Industries,

 8   LLC, owns or owned or controls or controlled from January 1, 2016, tonthe present.

 9           3.      Evidence of savings account pass books, certificates of deposit, and trust

10   certificates in the name of, owned, or controlled by Dean Industries, LLC, January 1, 2016, to the

11   present.

12           4.      Evidence of canceled checks drawn on any account established in the name of

13   Dean Industries, LLC, from January 1, 2016, to the present.

14           5.      Evidence of negotiable instruments and negotiable securities in the name of Dean

15   Industries, LLC, from January 1, 2016, to the present.

16           6.      Evidence or other memoranda of any ownership interest of Dean Industries, LLC,

17   in any corporation, partnership, unincorporated association or any business organized or

18   conducted for the production of income from January 1, 2016, to the present.

19           7.      Evidence or other memoranda of any income received by Dean Industries, LLC,

20   from January 1, 2016, to the present, to include but not limited to tax returns, insurance proceeds,

21   or repayment of loans.

22           8.      Evidence of any ownership interest of Dean Industries, LLC, to include but not

23   limited to, bills of sale, pink slips or any other record or title, in any motor vehicle, airplane, boat,

24   equipment, or machinery, from January 1, 2016, to the present.

25           9.      Evidence of any debts or repayments owed by Dean Industries, LLC, to include

26   but not limited to, those arising from loans or judgments from January 1, 2016, to the present.

27           10.     Evidence or other memoranda indicating that Dean Industries, LLC, was either a

28   plaintiff or a defendant in any lawsuit from January 1, 2016, to the present.
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 1           11.       Evidence or memoranda indicating that Dean Industries, LLC, received any

 2   judgment, award, bequest, or devise in any lawsuit or other court action from January 1, 2016, to

 3   the present.

 4           12.       Evidence or memoranda indicating any ownership interest of Dean Industries,

 5   LLC, in any patent, invention, trade name, or copyright.

 6           13.       Evidence or memoranda indicating an ownership interest of Dean Industries, LLC,

 7   in any real property or developments on real property.

 8           14.       Evidence of the sale of any real or personal property of Dean Industries, LLC,

 9   from January 1, 2016, to the present.

10           15.       Evidence of loan applications filled out by Dean Industries, LLC, since January 1,

11   2016.

12           16.       Evidence of sale or transfer of any assets of Dean Industries, LLC, from January 1,

13   2016, to the present.

14           17.       Evidence of any federal or state tax liability of Dean Industries, LLC.

15           18.       Evidence of cash disbursement journals and/or check registers maintained in

16   connection with any business of Dean Industries, LLC, from January 1, 2016, to the present.

17           19.       Evidence of federal income tax returns of Dean Industries, LLC, for the year 2016

18   to the present.

19           20.       Evidence of Uniform Commercial Code (UCC) filings relating to Dean Industries,

20   LLC, as either a debtor or secured party from January 1, 2016, to the present.

21           21.       Evidence of stock certificates, stocks, bonds, or other investments of Dean

22   Industries, LLC, from January 1, 2016, to the present.

23           22.       A complete inventory of all of Dean Industries, LLC’s current and former assets,

24   including the contents of business locations, storage facilities, or other places where Dean

25   Industries, LLC, has or kept property, from January 1, 2016, to the present.

26           23.       Evidence of accounts receivable and other debts owning to Dean Industries, LLC,

27   including the names and addresses of the debtors to Dean Industries, LLC, and the amounts due.

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 1           24.      Evidence of any safe deposit box and any and all documents related to any such

 2   safe deposit box, held alone by Dean Industries, LLC, or jointly with any other person.

 3           IT IS FURTHER ORDERED that Dean Industries, LLC is hereby enjoined and prohibited

 4   from selling, conveying, transferring, or assigning any of its assets that are not exempt from

 5   execution before the examination.

 6                                 NOTICE TO JUDGMENT DEBTOR

 7           IF YOU FAIL TO APPEAR AT THE TIME AND PLACE SPECIFIED IN THIS

 8   ORDER, YOU MAY BE SUBJECT TO ARREST AND PUNISHMENT FOR CONTEMPT

 9   OF COURT AND THE COURT MAY MAKE AN ORDER REQUIRING YOU TO PAY

10   REASONABLE ATTORNEY’S FEES AND COSTS INCURRED BY THE JUDGMENT

11   CREDITORS IN THIS PROCEEDING.

12                                                         IT IS SO ORDERED.

13

14                                                         UNITED STATES MAGISTRATE JUDGE
15                                                         Dated: 10/30/2020
16

17

18   Submitted by:
19   LAW OFFICES OF KRISTINA L. HILLMAN
      Affiliated with Weinberg, Roger & Rosenfeld
20    A Professional Corporation
21
     /s/ Sean W. McDonald
22   Kristina L. Hillman
     Tiffany Crain Altamirano
23   Sean W. McDonald
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